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               EXHIBIT B
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                                                              Disputed Terms

                                   A                                                                  B


1 Defs Proposed Terms                                                Pls Proposed Term Modifications or Reason for Rejecting Term
2 "digital citizenship"                                              "digital citizenship" AND "health"

                                                                      "mental health" w/15 (scholar* OR kid* OR child* OR pupil* OR teen*
                                                                      OR student* OR freshman OR freshmen OR sophomore* OR junior* OR
                                                                      senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
3   "mental health"                                                   "eleventh grade*" OR "grade 11" OR "11th grade*" OR crisis")"
    ("Rx" OR prescri*) w/10 ("social media" OR Instagram OR IG OR     (("Rx" OR prescri*) w/10 ("social media" OR Instagram OR IG OR
    TikTok OR YouTube OR Snap* OR Facebook OR FB OR student* TikTok OR YouTube OR Snap* OR Facebook OR FB) w/10 (student*
    OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR
    child* OR juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR child* OR juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR
4   minor*)                                                           minor*))
    (alcohol OR gin OR vodka OR tequila OR rum OR liquor* OR beer ((alcohol OR gin OR vodka OR tequila OR rum OR liquor* OR beer OR
    OR whiskey OR wine OR bourbon OR drunk) w/5 (student* OR          whiskey OR wine OR bourbon OR drunk) w/5 (student* OR pupil* OR
    pupil* OR scholar* OR school* OR premises OR campus* OR           scholar* OR school* OR premises OR campus* OR underage* OR
    underage* OR youth* OR child* OR teen* OR tween* OR "pre-         youth* OR child* OR teen* OR tween* OR "pre-teen*" OR minor* OR
5   teen*" OR minor* OR adolescent*)                                  adolescent*)) AND "health"
                                                                      ((behavior* W/3 health) w/10 (scholar* OR kid* OR child* OR pupil*
                                                                      OR teen* OR student* OR freshman OR freshmen OR sophomore* OR
    (behavior* W/3 health) w/10 (scholar* OR kid* OR child* OR pupil* junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade
    OR teen* OR student* OR freshman OR freshmen OR sophomore* 12" OR "eleventh grade*" OR "grade 11" OR "11th grade*")) AND
    OR junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR     ("social media" OR Instagram OR IG OR TikTok OR YouTube OR
6   "grade 12" OR "eleventh grade*" OR "grade 11" OR "11th grade*") Snap* OR Facebook OR FB)
                                                                      (distance W/5 learn*) AND ("mental health" OR "social health" OR
7   (distance W/5 learn*)                                             "emotional health")
                                                                      (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR
                                                                      freshman OR freshmen OR sophomore* OR junior* OR senior* OR
    (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*"
    freshman OR freshmen OR sophomore* OR junior* OR senior* OR OR "grade 11" OR "11th grade*") w/5 ("chromebook*" w/25 ("social
    "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh      media" OR Facebook OR FB OR Instagram OR "IG" OR YouTube OR
8   grade*" OR "grade 11" OR "11th grade*") w/10 "chromebook*"        "You Tube" OR "YT" OR Snap))

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                                   A                                                                   B
                                                                     ((scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR
                                                                     freshman OR freshmen OR sophomore* OR junior* OR senior* OR
  (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR      "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*"
  freshman OR freshmen OR sophomore* OR junior* OR senior* OR        OR "grade 11" OR "11th grade*") w/10 "concentrat*") AND ("social
  "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh       media" OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR
9 grade*" OR "grade 11" OR "11th grade*") w/10 "concentrat*"         Facebook OR FB)
                                                                     (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR
                                                                     freshman OR freshmen OR sophomore* OR junior* OR senior* OR
   (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR     "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*"
   freshman OR freshmen OR sophomore* OR junior* OR senior* OR       OR "grade 11" OR "11th grade*") w/10 ("device" w/25 ("social media"
   "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh      OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook
10 grade*" OR "grade 11" OR "11th grade*") w/10 "device"             OR FB))
                                                                     (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR
                                                                     freshman OR freshmen OR sophomore* OR junior* OR senior* OR
   (scholar* OR kid* OR child* OR pupil* OR teen* OR student* OR     "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*"
   freshman OR freshmen OR sophomore* OR junior* OR senior* OR       OR "grade 11" OR "11th grade*") w/10 ("laptop*" w/25 "social media"
   "twelfth grade*" OR "12th grade*" OR "grade 12" OR "eleventh      OR Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook
11 grade*" OR "grade 11" OR "11th grade*") w/10 "laptop*"            OR FB)
12 (screen w/3 time) OR screentime                                   ((screen w/3 time) OR screentime) AND "health"
                                                                     ((student* w/5 focus*) w/25 (problem* OR difficult* OR challeng* OR
                                                                     declin* OR unable* OR inabilit* OR issue)) AND ("social media" OR
   (student* w/5 focus*) w/25 (problem* OR difficult* OR challeng*   Instagram OR IG OR TikTok OR YouTube OR Snap* OR Facebook OR
13 OR declin* OR unable* OR inabilit* OR issue)                      FB )
   (vape* OR vaped OR vaping) w/5 (student* OR scholar* OR pupil*    ((vape* OR vaped OR vaping) w/5 (student* OR scholar* OR pupil* OR
   OR teen* OR tween* OR kid* OR youth* OR child* OR juvenile*       teen* OR tween* OR kid* OR youth* OR child* OR juvenile* OR "pre-
   OR "pre-teen*" OR preteen* OR adolescent* OR minor* OR teach*     teen*" OR preteen* OR adolescent* OR minor* OR teach* OR learn*))
14 OR learn*)                                                        AND "health"

   abus* w/10 (student* or kid* or child* or teen* OR tween* OR      (abus* w/10 (student* or kid* or child* or teen* OR tween* OR youth*
   youth* OR young* OR juvenile* OR "pre-teen*" OR preteen* OR       OR young* OR juvenile* OR "pre-teen*" OR preteen* OR adolescent*
15 adolescent* OR minor* OR underage OR domestic OR family)          OR minor* OR underage OR domestic OR family)) AND "health"


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                                   A                                                                   B
                                                                     addict* w/5 ("social media" OR Instagram OR IG OR TikTok OR
16 "addict*"                                                         YouTube OR Snap* OR Facebook OR FB)
   assault* w/10 ("ninth grade*" OR "9th grade*" OR "grade 9" OR     (assault* w/10 ("ninth grade*" OR "9th grade*" OR "grade 9" OR
   "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" "eighth grade*" OR "8th grade*" OR "grade 8" OR "seventh grade*" OR
   OR "7th grade*" OR "grade 7" OR "sixth grade*" OR "6th grade*"    "7th grade*" OR "grade 7" OR "sixth grade*" OR "6th grade*" OR
   OR "grade 6" OR principal* OR staff OR administrat* OR employee* "grade 6" OR principal* OR staff OR administrat* OR employee* OR
   OR teacher OR harass* OR viol* OR altercation* OR crim* OR        teacher OR harass* OR viol* OR altercation* OR crim* OR safety OR
   safety OR expel* OR suspen* OR discip* OR treat* OR consult* OR expel* OR suspen* OR discip* OR treat* OR consult* OR train*)) AND
17 train*)                                                           "health"
   assault* w/10 (school* OR class* OR district* OR campus* OR rate* (assault* w/10 (school* OR class* OR district* OR campus* OR rate*
   OR disciplin* OR student* OR pupil* OR scholar* OR kid* OR        OR disciplin* OR student* OR pupil* OR scholar* OR kid* OR teen*
   teen* OR child* OR freshman* OR freshmen OR sophomore* OR         OR child* OR freshman* OR freshmen OR sophomore* OR junior* OR
   junior* OR senior* OR "twelfth grade*" OR "12th grade*" OR "grade senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
   12" OR "eleventh grade*" OR "grade 11" OR "11th grade*" OR "tenth "eleventh grade*" OR "grade 11" OR "11th grade*" OR "tenth grade*"
18 grade*" OR "10th grade*" OR "grade 10")                           OR "10th grade*" OR "grade 10")) AND "health"
   bully* OR bullie* w/5 (severe OR severity OR intens* OR repeat*   (bully* OR bullie*) w/5 ((severe OR severity OR intens* OR repeat* OR
   OR reptitive OR acute OR chronic OR serious OR extreme* OR        reptitive OR acute OR chronic OR serious OR extreme* OR major OR
   major OR problem* OR concern* OR report* OR ignore* OR            problem* OR concern* OR report* OR ignore* OR indifferen* OR fail*
   indifferen* OR fail* OR hotline OR helpline OR online OR internet OR hotline OR helpline) w/10 (online OR internet OR "social media" OR
   OR "social media" OR Facebook OR FB OR Instagram OR IG OR         Facebook OR FB OR Instagram OR IG OR Snap* OR TikTok OR TT
19 Snap* OR TikTok OR TT OR Youtube OR YT OR text*)                  OR Youtube OR YT OR text*))
                                                                     (Covid* w/10 quarantine) w/30 ("health*" OR success" OR "growth" OR
                                                                     "iPad" OR "laptop" OR "chromebook" OR "device" OR computer OR
20 Covid* w/10 quarantine*                                           "polic*" OR "instruction" OR "guidance" OR "protocol")"
   crim* W/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR      (crim* W/10 (scholar* OR kid* OR child* OR pupil* OR teen* OR
   student* OR freshman OR freshmen OR sophomore* OR junior* OR student* OR freshman OR freshmen OR sophomore* OR junior* OR
   senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR     senior* OR "twelfth grade*" OR "12th grade*" OR "grade 12" OR
   "eleventh grade*" OR "grade 11" OR "11th grade*" OR "tenth        "eleventh grade*" OR "grade 11" OR "11th grade*" OR "tenth grade*"))
21 grade*")                                                          AND "health"




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                                     A                                                                      B


                                                                          (danger w/10 (student* or pupil* or scholar* or kid* or child* or teen*
   danger w/10 (student* or pupil* or scholar* or kid* or child* or teen* OR tween* OR youth* OR "pre-teen*" OR preteen* OR adolescent* OR
   OR tween* OR youth* OR "pre-teen*" OR preteen* OR adolescent* minor* OR underage)) AND ("social media" OR Instagram OR IG OR
22 OR minor* OR underage)                                                 TikTok OR YouTube OR Snap* OR Facebook OR FB)
                                                                          depress* w/10 ("social media" OR Instagram OR IG OR TikTok OR
   depress* w/10 (scholar* OR kid* OR child* OR student* OR pupil* YouTube OR Snap* OR Facebook OR FB) w/10 (scholar* OR kid* OR
   OR freshman OR freshmen OR sophomore* OR junior* OR "twelfth child* OR student* OR pupil* OR freshman OR freshmen OR
   grade*" OR "12th grade*" OR "grade 12" OR "eleventh grade*" OR sophomore* OR junior* OR "twelfth grade*" OR "12th grade*" OR
   "11th grade*" OR "tenth grade*" OR "10th grade*" OR "ninth             "grade 12" OR "eleventh grade*" OR "11th grade*" OR "tenth grade*"
   grade*" OR "9th grade*" OR "eighth grade*" OR "8th grade*" OR          OR "10th grade*" OR "ninth grade*" OR "9th grade*" OR "eighth
   "seventh grade*" OR "7th grade*" OR "sixth grade*" OR "6th             grade*" OR "8th grade*" OR "seventh grade*" OR "7th grade*" OR
23 grade*")                                                               "sixth grade*" OR "6th grade*")
   drug* w/5 (student* OR scholar* OR pupil* OR teen* OR tween* OR (drug* w/5 (student* OR scholar* OR pupil* OR teen* OR tween* OR
   kid* OR youth* OR child* OR juvenile* OR "pre-teen*" OR preteen* kid* OR youth* OR child* OR juvenile* OR "pre-teen*" OR preteen*
24 OR adolescent* OR minor* OR school*)                                   OR adolescent* OR minor* OR school*)) AND "health"
                                                                          "Facebook" w/30 ("health OR "threat*" OR "safe*" OR "warning" OR
                                                                          "counselor" OR "discipline" OR "attack" OR "bully*" or "bullie" OR
                                                                          "emergenc*" OR "conflict" OR "incident" OR "commentary" OR
25 "Facebook"                                                             "media" OR "legal" OR "investigat*")"

   fight w/10 ("social media" OR Instagram OR IG OR TikTok OR            fight w/10 (("social media" OR Instagram OR IG OR TikTok OR
   YouTube OR Snap* OR Facebook OR FB OR student* OR scholar*            YouTube OR Snap* OR Facebook OR FB) w/10 (student* OR scholar*
   OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR           OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR
26 juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*)        juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*))
27 "harass*"                                                             harass* AND "health"

   hit* w/5 ("social media" OR Instagram OR IG OR TikTok OR              hit* w/5 (("social media" OR Instagram OR IG OR TikTok OR YouTube
   YouTube OR Snap* OR Facebook OR FB OR student* OR scholar*            OR Snap* OR Facebook OR FB) w/10 (student* OR scholar* OR pupil*
   OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR           OR teen* OR tween* OR kid* OR youth* OR child* OR juvenile* OR
28 juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*)        "pre-teen*" OR preteen* OR adolescent* OR minor*))
29 hybrid W/10 learning                                                  (hybrid W/10 learning) AND "health"

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                                  A                                                                 B
                                                                    (incident* w/5 student*) AND ("social media" OR Instagram OR IG OR
30 incident* w/5 student*                                           TikTok OR YouTube OR Snap* OR Facebook OR FB)

   injur* w/10 ("social media" OR Instagram OR IG OR TikTok OR      injur* w/10 (("social media" OR Instagram OR IG OR TikTok OR
   YouTube OR Snap* OR Facebook OR FB OR student* OR scholar*       YouTube OR Snap* OR Facebook OR FB) w/10 (student* OR scholar*
   OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR      OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR
31 juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*)   juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*))

   kick* w/10 ("social media" OR Instagram OR IG OR TikTok OR       kick* w/10 (("social media" OR Instagram OR IG OR TikTok OR
   YouTube OR Snap* OR Facebook OR FB OR student* OR scholar*       YouTube OR Snap* OR Facebook OR FB) w/10 (student* OR scholar*
   OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR      OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR
32 juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*)   juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*))
33 "lockdown*"                                                      lockdown* AND "health"

   medicat* w/10 ("social media" OR Instagram OR IG OR TikTok OR    medicat* w/10 (("social media" OR Instagram OR IG OR TikTok OR
   YouTube OR Snap* OR Facebook OR FB OR student* OR scholar*       YouTube OR Snap* OR Facebook OR FB) w/10 (student* OR scholar*
   OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR      OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR
34 juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*)   juvenile* OR "pre-teen*" OR preteen* OR adolescent* OR minor*))
                                                                    (pandemic* W/25 (impact OR negative OR harm*)) AND ("mental
35 pandemic* W/25 (impact OR negative OR harm*)                     health" OR "social health" OR "emotional health")
                                                                    (remote W/10 class*) AND ("mental health" OR "social health" OR
36 remote W/10 class*                                               "emotional health")
                                                                    (remote W/10 learning) AND ("mental health" OR "social health" OR
37 remote W/10 learning                                             "emotional health")
                                                                    (remote W/10 school*) AND ("mental health" OR "social health" OR
38 remote W/10 school*                                              "emotional health")
                                                                    (remote W/10 social*) AND ("mental health" OR "social health" OR
39 remote W/10 social*                                              "emotional health")
                                                                    (remote W/10 teaching) AND ("mental health" OR "social health" OR
40 remote W/10 teaching                                             "emotional health")
41 sex* W/10 abuse*                                                 (sex* W/10 abuse*) AND "health"
42 sex* W/10 assault*                                               (sex* W/10 assault*) AND "health"

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                                   A                                                                 B
43 sex* W/10 viol*                                                 (sex* W/10 viol*) AND "health"
                                                                   (social* W/3 distanc*) AND ("mental health" OR "social health" OR
44 social* W/3 distanc*                                            "emotional health")
45 substance W/5 (disorder* OR abuse*)                             (substance W/5 (disorder* OR abuse*)) AND "health"
                                                                   suspen* w/5 ((student* OR pupil* OR scholar* OR kid* OR teen* OR
                                                                   child* OR freshman* OR freshmen OR sophomore* OR junior* OR
   suspen* w/5 (student* OR pupil* OR scholar* OR kid* OR teen* OR senior* OR rate* OR impact* OR trend* OR decline* OR increase*)
   child* OR freshman* OR freshmen OR sophomore* OR junior* OR w/25 ("social media" OR Instagram OR IG OR TikTok OR YouTube OR
46 senior* OR rate* OR impact* OR trend* OR decline* OR increase*) Snap* OR Facebook OR FB)
   teacher w/5 (shortage* OR quit* OR leav* OR "burnout" OR "burn
                                                                   teacher w/5 (shortage* OR "burnout" OR "burn out" OR "burnt out")
47 out" OR "burnt out")
                                                                   (teacher* W/5 (retention OR retain*)) w/5 (problem OR trend OR reason
48 teacher* W/5 (retention OR retain*)                             OR cause)
49 teacher* w/5 turnover                                           teacher* w/5 (turnover w/5 (problem OR trend OR reason OR cause))
                                                                   (therap* w/5 child*) AND ("mental health" OR "social health" OR
50 therap* w/5 child*                                              "emotional health")
                                                                   (therap* w/5 class*) AND ("mental health" OR "social health" OR
51 therap* w/5 class*                                              "emotional health")
                                                                   (therap* w/5 district*) AND ("mental health" OR "social health" OR
52 therap* w/5 district*                                           "emotional health")
                                                                   (therap* w/5 school*) AND ("mental health" OR "social health" OR
53 therap* w/5 school*                                             "emotional health")
                                                                   (therap* w/5 train*) AND ("mental health" OR "social health" OR
54 therap* w/5 train*                                              "emotional health")
                                                                   (weapon* w/5 (student* OR scholar* OR pupil* OR teen* OR tween*
   weapon* w/5 (student* OR scholar* OR pupil* OR teen* OR tween* OR kid* OR youth* OR child* OR juvenile* OR "pre-teen*" OR
   OR kid* OR youth* OR child* OR juvenile* OR "pre-teen*" OR      preteen* OR adolescent* OR minor* OR school* OR class*)) AND
55 preteen* OR  adolescent* OR  minor* OR school* OR class*)       ("mental health" OR "social health" OR "emotional health")
                                                                   "YouTube" w/30 ("health" OR threat*" OR "safe*" OR "warning" OR
                                                                   "counselor" OR "discipline" OR "attack" OR "bully*" or "bullie" OR
                                                                   "conflict" OR "incident" OR "commentary" OR "media" OR "legal" OR
56 "YouTube"                                                       "investigat*")"

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                                   A                                                             B


                                                               "social media" w/30 ("health OR "threat*" OR "safe*" OR "warning" OR
                                                               "counselor" OR "discipline" OR "attack" OR "bully*" or "bullie*" OR
                                                               "emergenc*" OR "conflict" OR "concern*" OR "content" OR "challenge"
57 "social media"                                              OR "legal" OR "outreach" OR "law" OR "incident" OR "investigat*")"
58 ((social w/3 worker) AND teen*) w/25 need*                  ((social w/3 worker) w/25 teen*) w/25 need*
                                                               Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                               have agreed to 7 terms to capture documents discussing altercations,
                                                               including misconduct* w/10 altercation* and misbehav* w/10
                                                               altercation*. Defendants have not explained why this additional term is
59 altercation* w/5 consult*                                   necessary.
                                                               Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                               have agreed to 7 terms to capture documents discussing altercations,
                                                               including misconduct* w/10 altercation* and misbehav* w/10
                                                               altercation*. Defendants have not explained why this additional term is
60 altercation* w/5 crim*                                      necessary.
                                                               Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                               have agreed to 7 terms to capture documents discussing altercations,
                                                               including misconduct* w/10 altercation* and misbehav* w/10
                                                               altercation*. Defendants have not explained why this additional term is
61 altercation* w/5 discip*                                    necessary.
                                                               Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                               have agreed to 7 terms to capture documents discussing altercations,
                                                               including misconduct* w/10 altercation* and misbehav* w/10
                                                               altercation*. Defendants have not explained why this additional term is
62 altercation* w/5 expel*                                     necessary.
                                                               Burden; Overbroad because not tied to the harms or claims at issue.
                                                               Plaintiffs have agreed to 7 terms to capture documents discussing
                                                               altercations, including misconduct* w/10 altercation* and misbehav*
                                                               w/10 altercation*. Defendants have not explained why this additional
63 altercation* w/5 suspen*                                    term is necessary.


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                                                       Disputed Terms

                                 A                                                               B
                                                             Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                             have agreed to 7 terms to capture documents discussing altercations,
                                                             including misconduct* w/10 altercation* and misbehav* w/10
                                                             altercation*. Defendants have not explained why this additional term is
64 altercation* w/5 train*                                   necessary.
                                                             Overbroad because not tied to the harms or claims at issue and would
                                                             capture any document discussing when a student is disrupted. Plaintiffs
                                                             have agreed to 14 terms that capture crisis, including "mental health" /15
                                                             crisis. Defendants have not explained why this additional term is
65 crisis w/5 student*                                       necessary.
                                                             Overbroad because not tied to the harms or claims at issue and would
                                                             capture any document discussing when a student is disrupted. Plaintiffs
                                                             have agreed to 42 terms that capture documents that relate students'
                                                             focus, achievement, and performance. Defendants have not explained
66 disrupt* w/5 student*                                     why this additional term is necessary.
                                                             Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                             have agreed to 14 other terms to capture harassment documents,
                                                             including harass* AND "health". Defendants have not explained why this
67 harass* w/5 consult*                                      additional term is necessary.
                                                             Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                             have agreed to 14 other terms to capture harassment documents,
                                                             including harass* AND "health". Defendants have not explained why this
68 harass* w/5 crim*                                         additional term is necessary.
                                                             Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                             have agreed to 14 other terms to capture harassment documents,
                                                             including harass* AND "health". Defendants have not explained why this
69 harass* w/5 discip*                                       additional term is necessary.
                                                             Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                             have agreed to 14 other terms to capture harassment documents,
                                                             including harass* AND "health". Defendants have not explained why this
70 harass* w/5 expel*                                        additional term is necessary.


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                                                       Disputed Terms

                                A                                                               B
                                                            Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                            have agreed to 14 other terms to capture harassment documents,
                                                            including harass* AND "health". Defendants have not explained why this
71 harass* w/5 suspen*                                      additional term is necessary.
                                                            Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                            have agreed to 14 other terms to capture harassment documents,
                                                            including harass* AND "health". Defendants have not explained why this
72 harass* w/5 train*                                       additional term is necessary.
                                                            Overbroad because not tied to the harms or claims at issue. Plaintiffs
                                                            have agreed to 37 other terms to capture documents about shootings,
                                                            including shooting* w/10 health. Defendants have not explained why this
73 shooting* w/10 school*                                   additional term is necessary.
                                                            Overbroad because not tied to the harms or claims at issue and would
                                                            capture any document discussing the stress of a student. Plaintiffs have
                                                            agreed to dozens of terms that capture documents that relate to the
                                                            mental, emotional, or social health or wellbeing of students. Defendants
74 stress* w/5 student*                                     have not explained why this additional term is necessary.
                                                            Burden; Plaintiffs have agreed to 21 other terms that capture documents
                                                            related to suicide, including suicid* w/10 student*. Defendants have not
75 suicid* w/10 prevent*                                    explained why this additional term is necessary.
                                                            Burden; Overbroad because not tied to the harms or claims at issue.
                                                            Plaintiffs have agreed to 52 other terms that capture documents related to
                                                            threats, including "social media" /30 threat*, challeng* w/5 threat*,
                                                            threat* w/5 safety, and 13 other terms designed to capture documents
                                                            related to school closures due to threats. Defendants have not explained
76 threat* w/5 district*                                    why this additional term is necessary.
                                                            Burden; Overbroad because not tied to the harms or claims at issue.
                                                            Plaintiffs have agreed to 52 other terms that capture documents related to
                                                            threats, including "social media" /30 threat*, challeng* w/5 threat*,
                                                            threat* w/5 safety, and 13 other terms designed to capture documents
                                                            related to school closures due to threats. Defendants have not explained
77 threat* w/5 school*                                      why this additional term is necessary.

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                                                     Disputed Terms

                              A                                                               B
                                                          Burden; Overbroad because not tied to the harms or claims at issue.
                                                          Plaintiffs have agreed to 52 other terms that capture documents related to
                                                          threats, including "social media" /30 threat*, challeng* w/5 threat*,
                                                          threat* w/5 safety, and 13 other terms designed to capture documents
                                                          related to school closures due to threats. Defendants have not explained
78 threat* w/5 student*                                   why this additional term is necessary.
                                                          Burden; Overbroad because not tied to the harms or claims at issue.
                                                          Plaintiffs have agreed to 52 other terms that capture documents related to
                                                          threats, including "social media" /30 threat*, challeng* w/5 threat*,
                                                          threat* w/5 safety, and 13 other terms designed to capture documents
                                                          related to school closures due to threats. Defendants have not explained
79 threat* w/5 train*                                     why this additional term is necessary.
                                                          Burden; Overbroad because not tied to the harms or claims at issue.
                                                          Plaintiffs have agreed to 44 other terms that capture documents related to
                                                          violence, including threat* w/5 viol*, challeng* w/10 violen*, violen*
                                                          w/5 student*, and misconduct* w/10 viol*. Defendants have not
80 violen* w/5 school*                                    explained why this additional term is necessary.




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